                     Case 14-50333-btb            Doc 424        Entered 10/11/18 22:30:34                Page 1 of 3
                                               United States Bankruptcy Court
                                                    District of Nevada
In re:                                                                                                     Case No. 14-50333-btb
ANTHONY THOMAS                                                                                             Chapter 7
WENDI THOMAS
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0978-3                  User: starzykia                    Page 1 of 2                          Date Rcvd: Oct 09, 2018
                                      Form ID: nstat713                  Total Noticed: 7


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 11, 2018.
db/jdb         +ANTHONY THOMAS,    WENDI THOMAS,   7725 PEAVINE PEAK COURT,   RENO, NV 89523-4914
aty            +ALAN R. SMITH,    LAW OFFICE OF ALAN R SMITH,   505 RIDGE STREET,   RENO, NV 89501-1719
jtadm          +AT EMERALD, LLC,    7725 PEAVINE PEAK COURT,   RENO, NV 89523-4914
cr             +JOHN BEACH,    C/O HOLLAND AND HART / TIMOTHY LUKUS,   5441 KIETZKE LANE, 2ND FLR,
                 RENO, NV 89511-3026
cr             +KENMARK VENTURES, LLC,    21710 STEVENS CREEK BLVD, STE 200,   CUPERTINO, CA 95014-1174
intp           +MACAULEY LAW GROUP, P.C.,    5470 KIETZKE LANE, SUITE 300,   RENO, NV 89511-2099
cr             +SMITH LC,   SMITH LC,    3161 Michelson Drive,   Suite 925,   Irvine, CA 92612-4476

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                FM HOLDINGS
cr                JERRY FERRARA
cr                JOSEPH KAFKA
intp              KIT MORRISON
cr                MARKET LINK INC.
r                 MELINDA BENNETT,   REMAX MOUNTAIN LIVING
auc               STREMMEL AUCTIONS, INC.
cr                TODD ARMSTRONG
intp              WILLIAM MCGRANE
                                                                                                                    TOTALS: 9, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 11, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 9, 2018 at the address(es) listed below:
              ALAN R SMITH   on behalf of Attorney ALAN R. SMITH mail@asmithlaw.com
              ALAN R SMITH   on behalf of Jnt Admin Debtor WENDI THOMAS mail@asmithlaw.com
              ALAN R SMITH   on behalf of Debtor    AT EMERALD, LLC mail@asmithlaw.com
              ALAN R SMITH   on behalf of Jnt Admin Debtor ANTHONY THOMAS mail@asmithlaw.com
              AMY N. TIRRE   on behalf of Creditor    KENMARK VENTURES, LLC amy@amytirrelaw.com,
               admin@amytirrelaw.com
              AMY N. TIRRE   on behalf of Plaintiff    KENMARK VENTURES, LLC amy@amytirrelaw.com,
               admin@amytirrelaw.com
              JEFFREY A. COGAN   on behalf of Defendant WENDI THOMAS jeffrey@jeffreycogan.com,
               beau@jeffreycogan.com;jeffreyacogan@gmail.com
              JEFFREY A. COGAN   on behalf of Defendant ANTHONY THOMAS jeffrey@jeffreycogan.com,
               beau@jeffreycogan.com;jeffreyacogan@gmail.com
              JEFFREY L HARTMAN   on behalf of Interested Party JERI COPPA-KNUDSON notices@bankruptcyreno.com,
               sji@bankruptcyreno.com
              JEFFREY L HARTMAN   on behalf of Trustee JERI COPPA-KNUDSON notices@bankruptcyreno.com,
               sji@bankruptcyreno.com
              JEFFREY L HARTMAN   on behalf of Plaintiff JERI COPPA-KNUDSON notices@bankruptcyreno.com,
               sji@bankruptcyreno.com
              JERI COPPA-KNUDSON     on behalf of Realtor MELINDA BENNETT renobktrustee@gmail.com,
               jcoppaknudson@ecf.epiqsystems.com
              JERI COPPA-KNUDSON     on behalf of Trustee JERI COPPA-KNUDSON renobktrustee@gmail.com,
               jcoppaknudson@ecf.epiqsystems.com
              JERI COPPA-KNUDSON     renobktrustee@gmail.com, jcoppaknudson@ecf.epiqsystems.com
              JERI COPPA-KNUDSON     on behalf of Auctioneer   STREMMEL AUCTIONS, INC. renobktrustee@gmail.com,
               jcoppaknudson@ecf.epiqsystems.com
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                              Form ID: nstat713           Total Noticed: 7


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              JOSEPH G. WENT    on behalf of Creditor JOHN BEACH JGWent@hollandhart.com,
               vllarsen@hollandhart.com
              JOSEPH G. WENT    on behalf of Plaintiff JOHN BEACH JGWent@hollandhart.com,
               vllarsen@hollandhart.com
              KEVIN A. DARBY    on behalf of Creditor TODD ARMSTRONG kad@darbylawpractice.com,
               tricia@darbylawpractice.com;jill@darbylawpractice.com;hersh@darbylawpractice.com;sam@darbylawprac
               tice.com
              KEVIN A. DARBY    on behalf of Creditor JERRY FERRARA kad@darbylawpractice.com,
               tricia@darbylawpractice.com;jill@darbylawpractice.com;hersh@darbylawpractice.com;sam@darbylawprac
               tice.com
              KEVIN A. DARBY    on behalf of Interested Party KIT MORRISON kad@darbylawpractice.com,
               tricia@darbylawpractice.com;jill@darbylawpractice.com;hersh@darbylawpractice.com;sam@darbylawprac
               tice.com
              KEVIN A. DARBY    on behalf of Creditor   FM HOLDINGS kad@darbylawpractice.com,
               tricia@darbylawpractice.com;jill@darbylawpractice.com;hersh@darbylawpractice.com;sam@darbylawprac
               tice.com
              KEVIN A. DARBY    on behalf of Creditor   MARKET LINK INC. kad@darbylawpractice.com,
               tricia@darbylawpractice.com;jill@darbylawpractice.com;hersh@darbylawpractice.com;sam@darbylawprac
               tice.com
              LAURY MILES MACAULEY    on behalf of Defendant ANTHONY THOMAS laury@macauleylawgroup.com
              LAURY MILES MACAULEY    on behalf of Defendant WENDI THOMAS laury@macauleylawgroup.com
              STEFANIE T. SHARP    on behalf of Interested Party WILLIAM MCGRANE ssharp@rssblaw.com,
               cobrien@rssblaw.com
              STEFANIE T. SHARP    on behalf of Plaintiff WILLIAM MCGRANE ssharp@rbsllaw.com,
               cobrien@rssblaw.com
              STEVEN C. SMITH    on behalf of Creditor   SMITH LC ssmith@smith-lc.com, mbrandt@smith-lc.com
              TIMOTHY A LUKAS    on behalf of Creditor JOHN BEACH ecflukast@hollandhart.com
              U.S. TRUSTEE - RN - 7, 7    USTPRegion17.RE.ECF@usdoj.gov
              WAYNE A. SILVER    on behalf of Plaintiff   KENMARK VENTURES, LLC w_silver@sbcglobal.net,
               ws@waynesilverlaw.com
              WAYNE A. SILVER    on behalf of Creditor   KENMARK VENTURES, LLC w_silver@sbcglobal.net,
               ws@waynesilverlaw.com
              WILLIAM MCGRANE     on behalf of Plaintiff WILLIAM MCGRANE ecf-8116edf28c97@ecf.pacerpro.com,
               mitch.chyette@mcgranellp.com
                                                                                              TOTAL: 32
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NVB 9014(a) (Rev. 8/15)


                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA


 IN RE:                                                      BK−14−50333−btb
                                                             CHAPTER 7
 ANTHONY THOMAS

 WENDI THOMAS
                                                             NOTICE OF RESCHEDULED HEARING
                                  Debtor(s)
                                                             Hearing Date:      11/2/18
                                                             Hearing Time:      02:00 PM




NOTICE IS GIVEN that a rescheduled Hearing will be held before a United States Bankruptcy Judge. Hearing
information is as follows:

           Hearing Date:               11/2/18
           Hearing Time:               02:00 PM
           Hearing Location:           BTB RN−Courtroom 2, Young Bldg.
                                       300 Booth Street
                                       Reno, NV 89509


NOTICE IS FURTHER GIVEN that the hearing relates to the following entry on docket:

          353 − Motion for Turnover Filed by JEFFREY L HARTMAN on behalf of JERI COPPA−KNUDSON
          (HARTMAN, JEFFREY)

          395 − Declaration Of Anthony Thomas In Support Of Motion For Judicial Notice Of Law & Facts (FRE
          Rule 201)) Filed by ANTHONY THOMAS (Related document(s)353 Motion for Turnover filed by
          Trustee JERI COPPA−KNUDSON, 394 Notice filed by Debtor ANTHONY THOMAS) (Attachments: #
          1 Appendix Continued) (lms)

The court's hearing calendar for the date scheduled by this Notice may be viewed at www.nvb.uscourts.gov up to five
days before the scheduled hearing date to determine whether or not the hearing has been kept on calendar.



Dated: 10/9/18


                                                          Mary A. Schott
                                                          Clerk of Court
